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DATE FILED: 7/13/2023 __

 

By ECF and Email

The Honorable Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007
Torres NYSDChambers@nysd.uscourts.gov

Re: Altana Credit Opportunities Fund SPC et al. v. Bolivarian Republic of Venezuela,
No. 1:20-cv-8402-AT [rel. 1:19-cv-3123-AT]
Request for Extension Regarding Fees and Costs
Dear Judge Torres,

Plaintiffs Altana Credit Opportunities Fund SPC, Altana Credit Opportunities Fund 1 SP,
and Altana Funds Ltd. Cayman respectfully submit this letter regarding the Court’s Order
granting Plaintiffs’ motion for default judgment. Dkt. 72. The Court ordered as follows:

By July 19, 2023, Plaintiffs shall submit an updated proposed default judgment

that reflects the amounts due as of the date the proposed default judgment is

entered. By July 19, 2023, Plaintiffs may also file contemporaneous billing

records and other documented expenses in support of an award of fees and costs.

Id. at 6-7. As directed, Plaintiffs will submit their updated proposed default judgment by
July 19.

As for the award of fees and costs, Plaintiffs respectfully request an extension of
the deadline to submit contemporaneous billing records and other documented expenses
from July 19, 2023, until 30 days after the Court’s entry of the final default judgment.

This limited extension will permit Plaintiffs to include the most updated figure and

contemporaneous records in support of an award of fees and costs, and would come at no

prejudice to Defendant, who has not appeared in this case. Plaintiffs respectfully submit

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The Honorable Analisa Torres
July 12, 2023
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that this requested extension with respect to fees and costs should not affect the Court’s

entry of final default judgment.

Sincerely,

/s/ David W. Bowker
David W. Bowker

 

GRANTED.
SO ORDERED. O7-
Dated: July 13, 2023 ANALISA TORRES

New York, New York United States District Judge
